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1    BENJAMIN B. WAGNER
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     Assistant U.S. Attorney
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4    Telephone: (916) 554-2918
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7
8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )    No. 2:12-cr-00322-MCE
                                         )
12               Plaintiff,              )
                                         )   STIPULATION AND PROTECTIVE
13                                       )   ORDER REGARDING DISSEMINATION
          v.                             )   OF DISCOVERY DOCUMENTS
14                                       )   CONTAINING PERSONAL
     ALEKSANDR MIKHAYLOV, and            )   IDENTIFICATION INFORMATION
15   HOVIK MKRTCHIAN,                    )
                                         )
16               Defendants.             )
                                         )
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19        IT IS HEREBY STIPULATED AND AGREED among the parties and
20   their respective counsel, Todd D. Leras, Assistant United States
21   Attorney, on behalf of the government, Attorney Richard Nahigian
22   on behalf of defendant Hovik Mkrtchian, and Attorney Scott Tedmon
23   on behalf of defendant Alexsandr Mikhaylov, that the documents to
24   be provided as discovery in this case are subject to a Protective
25   Order.
26        Defendants are charged with various offenses related to an
27   alleged fraudulent tax refund scheme.          The parties agree that
28   discovery in the case necessarily contains Protected Information.

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1    The phrase “Protected Information” as used in this stipulation
2    and order includes victim and witness Social Security Numbers,
3    Driver’s License Numbers, dates of birth, addresses, telephone
4    numbers, and e-mail addresses.     This Protective Order extends to
5    all documents provided by the government to defense counsel in
6    this case, including those items related to conduct not charged
7    in the Indictment.
8         By signing this Stipulation and Protective Order, defense
9    counsel agree not to share any documents containing Protected
10   Information in unredacted form with any person other than primary
11   counsel, assisting counsel, designated defense investigators, and
12   support staff.   Defense counsel may allow their clients to view
13   unredacted documents in the presence of their respective
14   attorneys, investigators and/or appropriate support staff.
15        The parties further agree that defense counsel,
16   investigators, and support staff shall not permit any defendant
17   to copy, either in writing or by other means, Protected
18   Information contained in the discovery.       Defense counsel,
19   investigators and support staff may provide their respective
20   clients with copies of documents from which all Protected
21   Information has been redacted.
22        In the event that either defendant substitutes counsel, the
23   undersigned attorneys agree to withhold documents containing
24   Protected Information from new counsel until such time as
25   substituted counsel agrees to be bound by this Protective Order.
26        This stipulation and protective order has been provided to
27   defense counsel for their review.
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1    Following review of its contents, Assistant U.S. Attorney Todd
2    Leras has been authorized via e-mail to sign this stipulation on
3    behalf of Attorney Richard Nahigian and Attorney Scott Tedmon.
4
5    DATED: October 23, 2012            By:     /s/ Todd D. Leras
                                               TODD D. LERAS
6                                              Assistant U.S. Attorney
7    DATED: October 23, 2012            By:     /s/ Todd D. Leras for
                                               SCOTT TEDMON
8                                              Attorney for Defendant
                                               ALEKSANDR MIKHAYLOV
9
10   DATED: October 23, 2012             By: /s/ Todd D. Leras for
                                             RICHARD NAHIGIAN
11                                           Attorney for Defendant
                                             HOVIK MKRTCHIAN
12
13
14                                     ORDER
15
16         FOR GOOD CAUSE SHOWN, pursuant to the stipulation of
17   counsel, Protected Information provided to defense counsel by the
18   government as discovery in Case Number S-12-322 MCE shall:
19         1.   Be shared in unredacted format only among primary
20   counsel, assisting counsel, designated defense investigators, and
21   support staff;
22         2.   Be viewed by a defendant in unredacted format only in
23   the presence of his or her attorney, investigator, and/or
24   appropriate support staff; and
25         3.   Be provided to a defendant only in a copy from which all
26   Protected Information has been redacted.
27   ///
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1         No person shall permit a Defendant to copy, either in
2    writing or by other means, Protected Information contained in the
3    discovery.     No person shall provide substitute counsel with
4    documents containing Protected Information until such time as
5    substitute counsel has agreed to be bound by this Protective
6    Order.
7         IT IS SO ORDERED
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     Dated: October 29, 2012
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10                                       _____________________________
11                                       MORRISON C. ENGLAND, JR.
                                         UNITED STATES DISTRICT JUDGE
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